









  

NUMBER 13-01-494-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________


RALPH TRUSTY , Appellant,


v.



THE STATE OF TEXAS, Appellee.

__________________________________________________________________


On appeal from the 28th District Court 

of Nueces County, Texas.

___________________________________________________________________

O P I N I O N




Before Chief Justice Valdez and Justices Hinojosa and Yañez

Opinion Per Curiam


Appellant, RALPH TRUSTY , perfected an appeal from a judgment entered by the 28th District Court of Nueces County,
Texas, in cause number 98-CR-1736-A . Appellant has filed a motion to dismiss the appeal.  The motion complies with
Tex. R. App. P. 42.2(a).

The Court, having considered the documents on file and appellant's motion to dismiss the appeal, is of the opinion that
appellant's motion to dismiss the appeal should be granted.  Appellant's motion to dismiss the appeal is granted, and the
appeal is hereby DISMISSED.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 14th day of February, 2002 .


